          Case 21-00630-NGH              Doc 23      Filed 11/11/21 Entered 11/11/21 03:35:45                     Desc Main
                                                     Document Page 1 of 1




                                                 IN THE UNITED STATES BANKRUPTCY COURT
                                                           DISTRICT OF IDAHO

In RE:            KATIE MARIE HOSKINS                                §          Case Number:        21-00630-NGH-7
                                                                     §
                  Debtor(s)                                          §          Chapter:        7

                                       REQUEST FOR NOTICE UNDER BANKRUPTCY RULE 2002
                 PLEASE TAKE NOTICE THAT Capital One Auto Finance, a division of Capital One, N.A. hereby gives notice as follows:
         Pursuant to 11 U.S.C. §342(f)(1), AIS Portfolio Services, LP hereby requests that:
                 (i)           all notices given or required to be given in the case; and
                 (ii)          all pleadings and correspondence served or required to be served in this case,
         regarding Capital One Auto Finance, a division of Capital One, N.A. should be directed to AIS Portfolio Services, LP
         at the following mailing address effective immediately:

               Attn: Capital One Auto Finance, a division of Capital One, N.A. Department
               AIS Portfolio Services, LP
               Account: XXXXXXXXX0035
               4515 N Santa Fe Ave. Dept. APS
               Oklahoma City, OK 73118

                 This request encompasses all notices, copies and pleadings referred to in Rules 2002, 9007 or 9008 of the
         Bankruptcy Rules, including, without limitation, notices of any Orders, Motions, Demands, Complaints, Petitions,
         Pleadings, Requests, Applications, Schedules, Statements, Plans, and any other documents brought before this court
         in this case, whether formal or informal, written or oral, or transmitted or conveyed by mail, delivery, telephone,
         telecopier, telex, or otherwise which affects or seeks to affect the above case.

                                                                     Respectfully submitted,

                                                                     /s/ Arvind Nath Rawal
                                                                     Arvind Nath Rawal
                                                                     Claims Processor
                                                                     Bankruptcy Servicer for Capital One Auto Finance, a division of
                                                                     Capital One, N.A.
                                                                     AIS Portfolio Services, LP
                                                                     4515 N Santa Fe Ave. Dept. APS
                                                                     Oklahoma City, OK 73118
                                                                     (800)946-0332, Fax (817) 461-8070
                                                                     ECFNotices@aisinfo.com
                                                                     File # 1396369
